99 F.3d 1131
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Edward D. SMALLS, Petitioner-Appellant,v.SOUTH CAROLINA DEPARTMENT OF CORRECTIONS;  Attorney Generalof the State of South Carolina, Respondents--Appellees.
    No. 96-6644.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 17, 1996.Decided Oct. 24, 1996.
    
      Edward D. Smalls, Appellant Pro Se.
      Donald John Zelenka, Chief Deputy Attorney General, Columbia, South Carolina, for Appellees.
      D.S.C.
      DISMISSED.
      Before MURNAGHAN and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.   Smalls v. South Carolina Dep't of Corr., No. CA-95-1298-3-6BC (D.S.C. Mar. 22, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    